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           Case 2:25-cv-00197-JCZ-DPC                Document 28          Filed 02/25/25       Page 3 of 3

Stacy Pecoraro

From;                                systems_unit@laed.uscourts.gov on behalf of Do Not Reply
                                     < do_not_reply@laed.uscourts.gov>
Sent:                                Tuesday, February 25, 2025 11:42 AM
To:                                  LAEDmLPro Se
Subject:                             New EDSS Filing Submitted


A new EDSS Filing has been submitted. The filing was submitted on Tuesday, February 25, 2025 -11:42 from IP Address
10.164.8.193


Submitted values are:


Filer's Full Name: HIran Rodriguez



Filer's Email Address: hlranrodriguez@outlook.com



Filer's Mailing Address (Street, Apt/Suit No., City, State, Zip): 820 Grove Ave, Metairie, LA, 70003-7024.


Filer's Phone Number: 5042038459




Case Number (if known): 25-197SECTION "A" (2)



Case Name: Rodriguez v. Meta Platforms, Inc et al



Document 1 Description: Proof of Service on Jefferson Parish Sheriff's Office on February 25, 2025.

Document 2 Description: Proof of Service on Sheriff Joseph P. Lopinto III on February 25, 2025.

Document 3 Description:

Document 4 Description:

Document 5, Description:



The submitted documents will arrive in your EDSS Filings bucket within 15 minutes.




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